68 F.3d 481
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellant,v.Francisco CORTEZ-LOPEZ, Defendant-Appellee.
    No. 94-50553.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 6, 1995.*Decided Oct. 10, 1995.
    
      Before:  HUG and LEAVY, Circuit Judges, and JONES,** District Judge.
      MEMORANDUM***
      The Government appeals the dismissal of its indictment against Francisco Cortez-Lopez arising out of its failure to comply with a discovery order.  Based on the stipulation of the parties and for the reasons set forth in our opinion in United States v. Gomez-Lopez, 62 F.3d 304 (9th Cir.1995), we reverse the dismissal of the indictment because the scope of discovery ordered bears no relationship to the decision to prosecute Mr. Cortez-Lopez.
      REVERSED and REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a) and 9th Cir.R. 34-4
      
      
        **
         The Honorable Robert E. Jones, United States District Judge for the District of Oregon, sitting by designation
      
      
        ***
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    